AO 472 Order of Detention Pending Trial
                       2:20-cr-20047-MMM-EIL # 29                               Page 1 of 1
========================================================================================================================================                       E-FILED
                                                         UNITED STATES DISTRICT COURT                                  Tuesday, 14 July, 2020 05:01:41 PM
                                                                      Central District of Illinois
UNITED STATES OF AMERICA
                                                                                                                            Clerk, U.S. District Court, ILCD
         v                                                                                ORDER OF DETENTION PENDING TRIAL

Shamar Betts
________________________________                                                          Case Number: 20-20047-01
Defendant

           In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude the following facts require the detention of the
defendant pending trial in this case.
                                                                       PART I - Findings of Fact
____       (1)        The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal offense) (state or local offense
                      that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is:
           ___        a crime of violence as defined in 18 U.S.C. §3156(a)(4)
           ___        an offense for which the maximum sentence is life imprisonment or death.
           ___        an offense for which the maximum term of imprisonment of ten years or more is prescribed in
                      ________________________________________________________________________________________________________________*
           ___        a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C. §3142(f)(1)(A)-
                      (C) or comparable state or local offenses.

____       (2)        The offense described in finding (a) was committed while the defendant was on release pending trial for a federal, state or local offense.

____       (3)        A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the offense
                      described in finding (1).

____       (4)        Findings Nos. (1)(2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety
                      of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                       Alternate Findings (A)
____       (1)        There is probable cause to believe that the defendant has committed an offense
                      for which a maximum term of imprisonment of ten years or more is prescribed in _______________________________________
                      under 18 U.S.C. §924(c)

____       (2)        The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
                      the appearance of the defendant as required and the safety of the community.

                                                                       Alternate Findings (B)
✔
___        (1)        There is a serious risk that the defendant will not appear.

✔
____       (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________

                                                    Part II - Written Statement of Reasons for Detention
           I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a preponderance of the evidence)
           that
                      _____________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________
                      ____________________________________________________________________________________________________________

                                                           Part III - Directions Regarding Detention
           The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from person awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in charge of the
corrections facility shall deliver the defendant to the United States Marshal for the purpose of an appearance in connection with a court proceedings.
                                                                                               s/Michael M. Mihm
       7/14/2020
Dated:_________________________________                                         ____________                                    __________________________
                                                                                                Signature of Judicial Officer

                                                                                       Michael M. Mihm; U.S. District Court Judge
                                                                                                  Name and Title of Judicial Officer

* Insert as applicable (a) Controlled Substances Act (21USC §801 et seq.): (b) Controlled Substances Import and Export Act (21 USC
§951 et seq.) Or (c)(Section 1 of Act of Sept. 15, 1980 (21 USC §955a)
